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                    13
                                                 UNITED STATES DISTRICT COURT
                    14
                                               NORTHERN DISTRICT OF CALIFORNIA
                    15

                    16
                         SARAH ANOKE, CATHERINE BONN,             Case No. 3:23-cv-02217
                    17   ISABELLE CANNELL, MELANIE EUSEBIO,
                         SAMANTHA FESTEJO, CARLOS MOISES          RESPONDENTS’ SUPPLEMENTAL
                    18   ORTIZ GOMEZ, DAWN HOISE, WAYNE           RULE 7.1 CORPORATE
                         KRUG, LAURENT LUCE, PATRICK              DISCLOSURE STATEMENT AND
                    19   O’CONNELL, JENNIFER RYAN, JAIME          CERTIFICATION PURSUANT TO
                         SENA, JAMES SHOBE, KARYN                 LOCAL RULE 3-15
                    20   THOMPSON, AND CRISTIAN ZAPATA,
                                                                  [FILED UNDER SEAL]
                    21
                                           Petitioners,
                    22
                                     v.
                    23
                         TWITTER, INC., X HOLDINGS I, INC., X
                    24   HOLDINGS, CORP, X CORP, AND ELON
                         MUSK,
                    25                     Respondents.

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 BOCKIUS LLP                                                                 RESPONDENTS’ SUPPLEMENTAL
 ATTORNEYS AT LAW                                                           RULE 7.1 CORP DISCLOSURE STMT
  SAN FRANCISCO                                                                         Case No. 3:23-cv-02217
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                     1          Pursuant to Northern District of California Civil Local Rule 3-15 and Rule 7.1 of the

                     2   Federal Rules of Civil Procedure, Respondent X Corp. as successor in interest to named

                     3   Respondent Twitter, Inc., by and through its counsel, certifies that Twitter, Inc. has been merged

                     4   into X Corp. and no longer exists. Respondent X Holdings Corp., as successor in interest to

                     5   named Respondent X Holdings I, Inc., by and through its counsel, certifies that X Holdings I, Inc.

                     6   has been merged into X Holdings Corp. and no longer exists. X Corp. is wholly owned by X

                     7   Holdings Corp. No publicly held corporation owns 10% or more of X Corp.’s or X Holdings

                     8   Corp.’s stock.

                     9          Pursuant to the Court’s Order Granting Plaintiffs’ Administrative Motion Directing

                    10   Defendants to Supplement Corporate Disclosure Statement, Respondents disclose the following

                    11   persons and entities who are owners/shareholders of X Holdings Corp. (ECF No. 35):

                    12                   8VC Opportunities Fund II, L.P.

                    13                   ADREM X LLC

                    14                   ADREM Y LLC

                    15                   Afshar Partners, LP

                    16                   Andrea Stroppa

                    17                   Andreessen Horowitz LSV Fund III, L.P.

                    18                   Anthem Ventures, LLC

                    19                   ARK Venture Private Holdings LLC

                    20                   BAMCO, Inc.

                    21                   Bandera Fund LLC

                    22                   Baron Opportunity Fund

                    23                   Baron Partners Fund

                    24                   Binance Capital Management Co., Ltd

                    25                   Brookfield Project X L.P.

                    26                   CCM 2020 Investments LLC

                    27                   Cheng and Chen Family Trust

                    28                   CNK Fund IV, L.P.
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                     1           Danilo Kawasaki

                     2           Dayton Family Enterprises, LLC

                     3           Dayton Family Investments, LLC

                     4           DFJ GROWTH IV, L.P.

                     5           DFJ GROWTH IV PARALLEL FUND, LLC

                     6           DFJ GROWTH X-I, L.P.

                     7           Eden Relationship Capital L.P.

                     8           Elon Musk as Trustee of the Elon Musk Revocable Trust dated July 22, 2003

                     9           FIAM Target Date Blue Chip Growth Commingled Pool By: Fidelity Institutional

                    10            Asset Management Trust Company as Trustee

                    11           Fidelity Blue Chip Growth Commingled Pool By: Fidelity Management Trust

                    12            Company, as Trustee

                    13           Fidelity Blue Chip Growth Institutional Trust By its manager Fidelity Investments

                    14            Canada ULC

                    15           Fidelity Canadian Growth Company Fund         by its manager Fidelity Investments

                    16            Canada ULC

                    17           Fidelity Central Investment Portfolios LLC: Fidelity U.S. Equity Central Fund -

                    18            Communication Services Sub

                    19           Fidelity Contrafund: Fidelity Advisor New Insights Fund - Sub A

                    20           Fidelity Contrafund: Fidelity Advisor New Insights Fund - Sub B

                    21           Fidelity Contrafund: Fidelity Contrafund

                    22           Fidelity Contrafund: Fidelity Contrafund K6

                    23           Fidelity Contrafund: Fidelity Series Opportunistic Insights Fund

                    24           Fidelity Contrafund Commingled Pool By: Fidelity Management Trust Company,

                    25            as Trustee

                    26           Fidelity Destiny Portfolios: Fidelity Advisor Diversified Stock Fund

                    27           Fidelity Global Growth and Value Investment Trust - Sub A By its manager

                    28            Fidelity Investments Canada ULC:
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                     1           Fidelity Global Innovators Investment Trust by its manager Fidelity Investments

                     2            Canada ULC

                     3           Fidelity Growth Company Commingled Pool By: Fidelity Management Trust

                     4            Company, as Trustee

                     5           Fidelity Insights Investment Trust By its manager Fidelity Investments Canada

                     6            ULC

                     7           Fidelity Mt. Vernon Street Trust: Fidelity Growth Company Fund

                     8           Fidelity Mt. Vernon Street Trust : Fidelity Growth Company K6 Fund

                     9           Fidelity Mt. Vernon Street Trust: Fidelity Series Growth Company Fund

                    10           Fidelity OTC Commingled Pool By: Fidelity Management Trust Company, as

                    11            Trustee

                    12           Fidelity Puritan Trust: Fidelity Puritan Fund - Equity Sub B

                    13           Fidelity Puritan Trust: Puritan K6 Fund - Equity Subportfolio

                    14           Fidelity Securities Fund: Fidelity Blue Chip Growth Fund

                    15           Fidelity Securities Fund: Fidelity Blue Chip Growth K6 Fund

                    16           Fidelity Securities Fund: Fidelity OTC K6 Portfolio

                    17           Fidelity Securities Fund: Fidelity OTC Portfolio

                    18           Fidelity Select Portfolios : Select Communication Services Portfolio

                    19           G64 Ventures LLC

                    20           Gerber Kawasaki Inc.

                    21           GFNCI LLC

                    22           Gigafund 0.21, LP

                    23           Glacier Ventures LLC

                    24           Go Mav, LLC

                    25           HRH Prince Alwaleed Bin Talal Bin Abdulaziz Alsaud

                    26           HRH Prince Alwaleed Bin Talal Bin Abdulaziz Alsaud

                    27           IMG US, LLC

                    28           Jack Dorsey Remainder LLC
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                     1           Jack Dorsey Tr Ua 12/08/2010 Jack Dorsey Revocable Trust

                     2           Kingdom Holding Company

                     3           Lawrence J. Ellison Revocable Trust

                     4           Linda Ye and Robin Ren Family Foundation

                     5           Litani Ventures

                     6           Luchi Fiduciaria SR POS. 365

                     7           Manhattan Venture Partners X LLC

                     8           Mirae Asset Innovation X ONE, LLC

                     9           Mirae Asset Project X Fund I, LP

                    10           Olivier Janssens

                    11           Q Tetris Holding LLC

                    12           Ross Gerber

                    13           Santo Lira LLC

                    14           SC CDA1 LLC

                    15           SCGE Fund, L.P.

                    16           SCGGF III – U.S./India Management, L.P.

                    17           SCHF (M) PV, L.P.

                    18           Scott Nolan

                    19           SC US/E Expansion Fund I Management, L.P.

                    20           Sean Combs Capital, LLC

                    21           Sequent (Schweiz) AG as Trustee of the Debala Trust

                    22           Sequioa Capital Fund, L.P.

                    23           Series N Dis, a series of Atreides Special Circumstances Fund, LLC

                    24           Shahidi Tactic Group, LLC

                    25           Steve Davis

                    26           T. One Holdings LLC

                    27           The Pershing Square Foundation

                    28           TM33 Partner Holdings LLC
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                                                                                             Case No. 3:23-cv-02217
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                     1                 Tresser Blvd 402 LLC

                     2                 UnipolSai S.P.A.

                     3                 Variable Insurance Products Fund II: VIP Contrafund Portfolio - Subportfolio A

                     4                 VYC25 Limited

                     5                 X Holdings I Investment, LLC

                     6          Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, there is no

                     7   conflict or interest (other than the named parties and the above-listed owners/shareholders of X

                     8   Holdings Corp.) to report.

                     9   Dated: June 9, 2023                     MORGAN, LEWIS & BOCKIUS LLP
                    10
                                                                 By    /s/ Eric Meckley
                    11                                                Eric Meckley
                                                                      Brian D. Berry
                    12                                                Ashlee N. Cherry
                                                                      Kassia Stephenson
                    13
                                                                      Attorneys for Respondents
                    14                                                TWITTER, INC.; X HOLDINGS I, INC.;
                                                                      X HOLDINGS CORP.; X CORP.; ELON MUSK
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